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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                                             )
                                                    )
 Richard E. Weingarten                              )       Case No. 20-16815-JGR
                                                    )
                                                    )       Chapter 11
                                                    )       Subchapter V
                                                    )
 Debtor.                                            )
                                                    )

    COVER SHEET FOR BUECHLER LAW OFFICE, L.L.C.’S FIRST INTERIM FEE
     APPLICATION FOR ALLOWANCE OF FEES AND EXPENSES AS COUNSEL
                FOR THE DEBTOR FOR THE PERIOD FROM
               OCTOBER 16, 2020 THROUGH MARCH 31, 2021


 Name of Applicant: Buechler Law Office, L.L.C.

 Authorized to provide professional services to: Richard Weingarten

 Date of Order Authorizing Employment: October 19, 2020 EFFECTIVE as of October 16, 2020

 Period for which compensation is sought: October 16, 2020 through March 31, 2021

 Amount of fees sought: $44,766.00

 Amount of expense reimbursement sought: $286.32

 This is an: Interim Application [ X ]; Final Application [ ]

 This is the first application filed herein by this professional.

   Date filed                Period Covered             Total Requested Fees   Total Allowed
                                                        and Expenses
      N/A                      N/A                      $     N/A              $ N/A
                                                        $                      $
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 The aggregate amount of fees and expenses paid to the Applicant to date for services rendered
 and expenses incurred herein is $45,114.12

 DATED: April 20, 2021                              Respectfully submitted,
                                                    BUECHLER LAW OFFICE, L.L.C.

                                                    /s/Michael J. Guyerson
                                                    ___________________________

                                                    999 18th Street, Suite 1230-S
                                                    Denver, Colorado 80202
                                                    Tel: 720-381-0045
                                                    Fax: 720-381-0382
                                                    Mike@KJBlawoffice.com




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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                                          )
                                                 )
 Richard E. Weingarten                           )   Case No. 20-16815-JGR
                                                 )
                                                 )   Chapter 11
                                                 )   Subchapter V
                                                 )
 Debtor.                                         )
                                                 )

        BUECHLER LAW OFFICE, L.L.C.’S FIRST INTERIM APPLICATION FOR
   ALLOWANCE OF FEES AND EXPENSES AS COUNSEL FOR THE DEBTOR FOR
       THE PERIOD FROM OCTOBER 16, 2020 THROUGH MARCH 31, 2021


          Buechler Law Office, L.L.C., (“Firm” and/or “Applicant”), for its First Interim

 Application for Allowance of Attorney Fees and Expenses as Counsel for Richard Weingarten, the

 Debtor-in-Possession (“Debtor”), for the Period from October 16, 2020 through March 31, 2021.

 This First Interim Application seeks approval of attorney’s fees in the amount of $44,766.00 and

 expenses in the amount of $286.32. The Debtor has paid interim compensation to the Applicant of

 $23,860.00 leaving a balance owed of $21,254.12. In support of this First Interim Application, the

 Firm states as follows:

          1.    The Debtor filed for relief under Chapter 11 of Title 11 of the United States

 Bankruptcy Code (the “Bankruptcy Code”) on October 16, 2020 (the “Petition Date”).

          2.    On October 16, 2020, the Debtor filed his application to employ the Firm as

 counsel for the Debtor in this case. On October 19, 2020, the Court entered its Order approving

 the employment of the Firm as counsel for the Debtor effective as of October 16, 2020 [Docket

 No. 45].

          3.    On October 16, 2020, the Debtor filed his Motion for Approval of Retainer to the
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 Firm in the amount of $23,860.00. The Court entered its Order granting the Motion for Approval

 of Retainer subject to interim and final approval by the Court on November 11, 2020 [Docket No.

 35].

        4.      On October 29, 2020, the Debtor filed his Motion for Approval of Interim

 Compensation Procedures for Professionals to allow monthly payment of 80% of fees and all costs

 pursuant to Local Rules [Doc. No. 27]. The Court entered its Order granting the Motion for

 Approval of Interim Compensation Procedures for Professionals on December 18, 2020 [Docket

 No. 76].

        5.      The Debtor has made interim payments in the amount of $23,860.00 during this

 First Interim Period. There is a retainer balance as of the end of March 2021 of zero. The amount

 owed and not paid is $21,254.12. Interim payments are first made from the Debtor’s retainer with

 the Firm, and once that is exhausted from cash flow. The unpaid 20% holdback, when approved

 with this Fee Application, will be paid from cash flow of the Debtor.

        6.      The Debtor retained the Firm to counsel and assist the Debtor in all matters

 necessary to fully administer the Chapter 11, and to perform all legal services for the Debtor as

 may become necessary herein, including:

                a.     Preparation on behalf of the Debtor of all necessary reports, pleadings,

                       orders, and other legal papers required in this Chapter 11 proceeding;

                b.     Perform all legal services for the Debtor as Debtor-in-Possession which

                       may become necessary herein; and

                c.     Represent the Debtor in any litigation which the Debtor determines is in the

                       best interest of the estate.


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         7.      The Firm has no agreement, or understanding of any kind or nature, with any other

 person to share any compensation received for services rendered in, or in connection with, this

 proceeding. The Firm does not hold, and has not held during the pendency of this proceeding, any

 interest adverse to the estate.

         8.      This is the First Interim Application for approval of the Firm’s attorneys fees and

 expenses as counsel for the Debtor. The fees and expenses set forth in this First Interim

 Application include all fees (including the 20% holdback) and expenses from October 16, 2020

 through March 31, 2021.

         9.      During the period of this Application, the Firm utilized two attorneys, Michael J.

 Guyerson, and Jonathan M. Dickey, associate attorney, and one paralegal, Teresa White, who

 performed various services related to the representation of the Debtor in this proceeding.

 Attached hereto as Exhibit 1 is a biographical sketch of each attorney who performed all legal

 services. Each person who has performed legal services in these matters has kept daily time

 records for the services performed and the charges being described thereon.

         10.     All of the work performed has been billed on an hourly basis. Attached hereto as

 Exhibit 2 is the Firm’s detailed time report for the period of this Application. There are several

 time entries to which the Firm exercised its billing discretion and did not charge for its services for

 a variety of reasons including, but not limited to, efficiency or duplicity.

         11.     The Firm asserts and believes that the Firm’s hourly rates are consistent with rates

 for comparable services performed by individuals of their experience and quality, with due regard

 for the spirit of the economy inherent in the Bankruptcy Code, and thus reasonable for the work

 performed and the results obtained.


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          12.   In addition to the fees incurred below, the Firm expended the sum of $286.32 for

 costs in this matter for the period of this Application on behalf of the Debtor as indicated in Exhibit

 3, attached hereto. Costs include outside copy and postage costs, as well as deposition fees and

 costs.

          13.   The services rendered by counsel have assisted the Debtor in complying with his

 obligations under the Bankruptcy Code. The work performed by the Firm during the period from

 October 16, 2020 through March 31 , 2021 is more fully described in the Firm’s Narrative which is

 attached hereto as Exhibit 4 and incorporated herein by this reference. The Firm billed a total of

 133.5 hours and $44,766.00 in fees for the period of this First Interim Application.

          14.   The professionals’ hourly rates for the services referenced above are as follows:

                    a.    Michael Guyerson $425 per hour
                    b.    Jonathan M. Dickey $300 per hour
                    c.    Paralegal          $120 per hour

          15.   To avoid duplication of billing of services between this case and the companion

 case of In Re Chee Wei Fong, Case No 2020-16813-JGR, the firm has kept separate time slip

 entries for each Debtor and split all common time evenly between the two cases, and noted such on

 the billing entry. For example, if common court appearances or drafting of pleadings was done, or

 common research undertaken, it was billed 50%/50% between the two debtors’ estates and cases.

 Time spent exclusively on this Debtor was billed 100% to this Debtor. Applicant is not aware of

 any duplication of billing for services provided or costs incurred.

          16.   The Firm also incurred extensive hours of paralegal and administrative time that

 was not billed to the Debtor, principally in the area of document production and complying with

 the Rule 2004 Orders of this Court. While the Applicant’s invoices show it has written off or not


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 charged for 8.4 hours during this First Interim Period, those entries do not reflect the total amounts

 not billed or written off before time entries were made.

        17.     The Debtor has had an opportunity to review the Firm’s monthly billing statements

 and this Application, has paid the interim fees and expenses, and has no objection to the fees and

 expenses requested herein for approval.

        18.     The Firm believes that the requested fees and expenses are reasonable and

 necessary in this proceeding. It has charged reasonable rates based upon the customary

 compensation charged by comparatively skilled practitioners in non-bankruptcy cases, considered

 the complexity of the legal issues involved, and whether the services were performed within a

 reasonable time commensurate with complexity, importance, and nature of the problem, issue or

 task addressed.

        19.     The Firm has extensively reviewed its time and billing and scrutinized the charges

 to the Debtor to make sure that the Firm’s charges for its services are commensurate with the tasks

 performed, the result obtained and to avoid duplicative billing. In some cases, the Firm did not

 charge for services performed for the Debtor. The only multiple attorney conferences or court

 appearances which were billed by each attorney are those in which each performed a separate role

 in the meeting or hearing.

        20.     By this Application, the Firm seeks an order approving its interim fees in the

 amount of $44,766.00 and expenses in the amount of $286.32 for a total to be approved of

 $45,114.12, of which $21,254.12 remains unpaid.

        WHEREFORE, Buechler Law Office, L.L.C., respectfully requests that this Court enter an

 order granting this First Interim Application and approving its fees in the amount of $44,766.00


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 and expenses in the amount of $286.32 for a total to be approved of $45,114.12, that the

 20% holdback and unpaid Interim Compensation of $21,254.12 be allowed to be paid by

 the Debtor, and for such other and further relief as the Court deems appropriate.


 DATED: April 20, 2021                               Respectfully submitted,
                                                     BUECHLER LAW OFFICE, L.L.C.

                                                     /s/ Michael J. Guyerson
                                                     ___________________________
                                                     Michael J. Guyerson # 11279
                                                     999 18th Street, Suite 1230-S
                                                     Denver, Colorado 80202
                                                     Tel: 720-381-0045
                                                     Fax: 720-381-0382
                                                     Mike@KJBlawoffice.com




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